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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION



UNITED STATES OF AMERICA


v.                                  NO. 4:09CR00232-002 SWW


DERICK RAY BEARDEN



                                    ORDER AMENDING JUDGMENT

       It has come to the Court’s attention that the Judgment & Commitment

as to the above-named defendant should be amended to reflect that the

sentence imposed shall run concurrently to an additional undischarged

term of imprisonment.

       IT IS THEREFORE ORDERED that the Judgment and Commitment [docket

#98]    be amended to reflect the sentence imposed as follows:

       The defendant is hereby committed to the custody of the Bureau of Prisons to be imprisoned for a total
       term of:
       TWENTY-FOUR (24) MONTHS to be served concurrently to the undischarged term of imprisonment
       in Dkt. No. CR2009-2202 and CR2009-45 (18 U.S.C. § 3584 and US.S.G. § 5G1.3[b][2]) in the
       Arkansas Department of Correction.

       IT IS FURTHER ORDERED that all other terms and conditions of

defendant’s Judgment and Commitment shall remain unchanged and in full

force and effect.

       DATED this 21st day of April 2011.

                                                              /s/Susan Webber Wright

                                                          United States District Judge
